Case 2:03-cr-20434-SH|\/| Document 103 Filed 06/24/05 Page 1 of 2 Page|D 141

 

 

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IN THE UNITED sTATEs DIsTRIcT coURT 35 § “""

FoR THE wEsTERN DISTRICT oF TENNESSEE v;»":'€ZL, ‘,L>H q ,_,

wEsTERN DIVIsIoN m_ “’~

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UNITED sTATEs OF AMERICA, ""¢'v-:-.f.'s

Plaintiff,
VS. CR. NO. 03-20434-Ol-Ma
MARSHALL CHISM,

Defendant.

v~_,/\_/'~_./\_/~.._/~_.»\_/\_/

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 23, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Marshall Chism, appearing in person and with
retained counsel, Mr. Marty McAfee.

With leave of the COurt, the defendant entered a plea of
guilty to Ccunts l and 5 cf the Indictment. Plea colloquy Was held
and the Court accepted the guilty plea.

Sentencing in this matter is set for Thursday, September 29,
2005 at 1:30 p.m.

The defendant may remain on his present bond pending
sentencing.

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ENTERED this the day of June, 2005.

`Mg//'“L\

SAMUEL H. MAYS, JR.
U'NI'I‘ED STATES DISTRICT JUDGE

This document entered on the docket sheet ln com |iance
with Rule 55 and/or 32(b) FHCrF on é éé Qf

 

 

 

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 103 in
case 2:03-CR-20434 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

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Ste. 800

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Honorable Samuel Mays
US DISTRICT COURT

